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lN THE UN|TED STATES DISTRICT COURT

FoR THE wEsTERN DlsTRlcT oF TENNESSEE H g: l h
wEsTERN DrvlsroN 95 AUG 22 A

UN|TED STATES OF AMERICA,

 

Plaintiff, CR. NO. 05-20277-D

VS.

DESHONE L. SK|NNER,
MICHAEL WORTHAM,
GENO BONDS,

Defendants.

MOT|ON TO UNSEAL iNDiCTMENT
The United States of America hereby requests that the Court unseal the indictment
in this matter. At the Government’s request, the Court seated this document to permit the
Government to execute the arrest warrants on the defendants The arrest warrants have
been executed, and there is no longer any need to seal the indictment
DATED: August 22, 2005. Respectfu||y submitted,

TERRELL L. HARR|S
nited States A omey

 
  

 

By: _
oseph C. Murphy
Assistant U.S. Attorney
MOT|ON GRANTED
.. a . v

    

BERN|CE BOUIE DCNALD
U.S.. DlSTRlCT JUDGE

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UNITED s`AsTE DISTRIC CROU - WESTER DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

